                                Case 1:22-cv-00782-VSB-RWL Document 1-1 Filed 01/31/22 Page 1 of 3

                                                         Exhibit A to the Complaint
Location: New York, NY                                                                            IP Address: 72.80.157.152
Total Works Infringed: 24                                                                         ISP: Verizon Fios
 Work      Hashes                                                               UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                           01-12-     Blacked       02-06-2018    02-20-2018   PA0002104186
           73098F3107FBE8E4AE1441F54DB3A42BC0D2E71E                             2022       Raw
           File Hash:                                                           19:39:31
           C88CE55D4CA442C9F66D7DA0732C0FCBEECEEBB72667F2A8722F0DE553A7990D
 2         Info Hash:                                                           01-12-     Blacked       11-08-2018    12-10-2018   PA0002145833
           2FEF8C6862CCC28341F10FF8FB905E9CB161F500                             2022       Raw
           File Hash:                                                           19:39:28
           B54B22924D72F6D17BE975A07CE6A6770EC4AB61310226E3AA9264D219A98C9C
 3         Info Hash:                                                           01-12-     Blacked       03-13-2018    04-17-2018   PA0002116738
           44F3F16CC60D7AE034BB31F4EE5BF34D9BA6DEE7                             2022       Raw
           File Hash:                                                           19:39:28
           61A653C728709F98BA0ABA9E2B93802CF671AD12A19AA043CA4957404FD3BB01
 4         Info Hash:                                                           01-12-     Blacked       01-27-2020    03-15-2020   PA0002240550
           093FF3C313504ED32913B9D8DACBB6EE2E888959                             2022       Raw
           File Hash:                                                           05:07:01
           DBB3A1ECDC30D2E12E9E548DFDACC26F3552C761C387C14986872EB72DC07517
 5         Info Hash:                                                           01-12-     Blacked       02-21-2020    03-18-2020   PA0002241534
           3D28EDE594037E007579CEB7E3390ED7172D9EE4                             2022       Raw
           File Hash:                                                           05:04:02
           CFEB57FBE5C7801F5F62DC62EB181A115ED67A61D82D3F9957322497E0929DB0
 6         Info Hash:                                                           01-12-     Blacked       02-13-2020    03-18-2020   PA0002241447
           31959DBFA8875FB8FF4EFC094D1C92D4DC625E7C                             2022       Raw
           File Hash:                                                           05:02:22
           8E1FC62DCDBBC878972A90DEC72B1FBA5206AF2E9DFEB6659AB6ED88FBC76BDD
 7         Info Hash:                                                           01-12-     Blacked       04-27-2020    05-19-2020   PA0002241476
           606D34889F01208A5CF6D224637047D318EAFE8F                             2022       Raw
           File Hash:                                                           05:00:10
           0E65C2ABB94426A7D99F6788580DBF7DC857F4095B98ACF03795BC52D7CC5B62
 8         Info Hash:                                                           01-12-     Blacked       04-05-2021    04-14-2021   PA0002286708
           7B8D0673CAF6CE3565EA151302ADBCE891CC3F11                             2022       Raw
           File Hash:                                                           04:55:45
           EADBBBB1C4C156D1DA864BFACF476E7D91FE57D1F9E65DD008014E7483FFBBED
                            Case 1:22-cv-00782-VSB-RWL Document 1-1 Filed 01/31/22 Page 2 of 3

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         01-06-     Blacked   06-08-2020   06-25-2020   PA0002255509
       E2BA38D564CE1B80BB4C1DDB0181EAB395E64F79                           2022       Raw
       File Hash:                                                         22:11:36
       567594C66D3EB44E05CA9910A6BA3FCCA70189C1CBE7EB7E43C390AC2A12273B
10     Info Hash:                                                         01-05-     Blacked   09-29-2019   10-21-2019   PA0002207777
       27D3FCCFC1AD4840C1551335EDD1E3406AB4DC0F                           2022       Raw
       File Hash:                                                         04:08:30
       AFFEBE09AECB5375045C33633B636BE6925C6AB9C9888C052B2C6388857BEFE2
11     Info Hash:                                                         12-31-     Blacked   07-16-2018   09-01-2018   PA0002119681
       C2CD33294A80E9042A3D6D2FC6C52861821EFA18                           2021       Raw
       File Hash:                                                         06:54:56
       D8C1F32807E495498B649867E55C81729FF4F5A3284A8C2BFD14FC74A8412322
12     Info Hash:                                                         12-24-     Vixen     03-30-2019   04-29-2019   PA0002169943
       24AE3812ECC6B6C2A00EAFCCA42FCAFCE17F3EDC                           2021
       File Hash:                                                         19:59:03
       9F6EFDCD4FBFD45C2542295349DCCEA4B058323C05F1D297B773654EC5A01CD1
13     Info Hash:                                                         12-24-     Vixen     02-23-2019   04-29-2019   PA0002169931
       7C99E492EC61646CED06952C682B68AACFCD7C33                           2021
       File Hash:                                                         19:58:48
       7065F8A4A31E575DD63240B683BF3D1777AFE7B881F5FD81849D9BD1F9CE80DA
14     Info Hash:                                                         12-24-     Blacked   09-02-2019   09-13-2019   PA0002200702
       1A6470E21E54EE628069047098E9B5DFB9B17ED2                           2021
       File Hash:                                                         19:42:55
       DC07CEA2B9742F1F04351D7A11868746045D5A1DF8F5A6E0AF00D9C69779AB3D
15     Info Hash:                                                         12-24-     Vixen     09-13-2021   09-30-2021   PA0002319739
       AC3D3B8282563DDBACFEEB9915DA0ACA37FEC2DD                           2021
       File Hash:                                                         19:29:22
       CE1C7E0C34CCE673204AB3CE70296C4466B044EFBE38AE0A048211F0E959DCA2
16     Info Hash:                                                         12-24-     Blacked   10-09-2021   10-19-2021   PA0002317059
       EFAC9203F98A2CEB889098FA318A1D7153657E8C                           2021
       File Hash:                                                         19:28:58
       157B62410347A2B4953C9366DB2207E09176F91C5E705363D8A84442291D0EF2
17     Info Hash:                                                         12-24-     Blacked   07-19-2021   08-23-2021   PA0002308404
       7012EC3C7C413CB0536E00EB1C840A5E26DE92B6                           2021       Raw
       File Hash:                                                         19:24:00
       049F3318005FAD7775856319649CC208159DFA975FCA1B21A575990FC7B8B882
                             Case 1:22-cv-00782-VSB-RWL Document 1-1 Filed 01/31/22 Page 3 of 3

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         12-06-     Vixen     11-12-2021   12-09-2021   PA0002325810
       49EFC1AFCFB3C8851D2D820E5ADCD9E1554E0F47                           2021
       File Hash:                                                         05:28:12
       65B33B7E0C3E6E1AE20D36D50DB87FAE709FD01C785A8CBE943816E194912527
19     Info Hash:                                                         12-05-     Blacked   07-04-2018   08-07-2018   PA0002131913
       B5E2089BD88F5B29E059EAF5C2E621B3B5008919                           2021
       File Hash:                                                         21:28:52
       BECF112263A05D3FF1CA87690A5BCDE1F3959970B8ED5F2898BEDFF01ABDFEAE
20     Info Hash:                                                         12-05-     Vixen     11-25-2018   01-22-2019   PA0002149840
       0D5FB0229BB896030F25C3B8B468E2B54000B9E1                           2021
       File Hash:                                                         19:42:36
       5370BB0032AFF40ECC6A812861A978958082995CBC2C328FB544CD49890BA25B
21     Info Hash:                                                         11-26-     Vixen     06-04-2021   06-24-2021   PA0002303620
       B4D0B97697D81B77AF5C415F0FBD3CB27BB6CA03                           2021
       File Hash:                                                         23:25:17
       685811A7F6C3A6F69A48B696E34E82381019290C19CFE6B5910C24C1D8B5C097
22     Info Hash:                                                         11-26-     Vixen     07-09-2021   08-20-2021   PA0002312016
       44DBCFD36B5F365555FC1E6093BE4755B03FD862                           2021
       File Hash:                                                         23:17:19
       5E4C939E1A6376733ED50A1750625A65FA8E08E2119898F459DEE9AD88D0C498
23     Info Hash:                                                         11-24-     Vixen     12-11-2020   01-04-2021   PA0002277039
       E7D41B393BCF89E7C36EBB27F3211E3CA0AB7754                           2021
       File Hash:                                                         03:27:41
       36FC2107476436C6648C54AE49DC8373F278FFDF278F73F610412A94C6243CC0
24     Info Hash:                                                         11-02-     Vixen     04-04-2018   04-17-2018   PA0002116740
       D7FF2A6B26A8EB9B131FD59C812EAEAE049D7C8C                           2021
       File Hash:                                                         21:58:20
       074113364816997E88B688D8DA144948ED87842FDBC76F3859990914B4B667AB
